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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA                                    NA
                                    (FORT LAUDERDALE DIVISION)
                                                                                             Sep 8, 2023

       JEANNIE QUINTEROS,                               )                                           FTL

                                                        )
       Plaintiff,                                       )    Case No: 23-cv-61731-AHS
                                                        )
       V.                                               )
                                        )                    DEMAND FOR JURY
       CAPITAL VENTURES INTERNATIONAL, )                     TRIAL
       LLC, NICHOLAS LAMPARIELLO, JOSHUA)
       CHRISTENSEN, NATIONAL HOME        )
       INVESTORS, MADISON MANAGEMENT, )
       SERVICES, LLC, DOES 1-25         )
                                        )
       Defendant.                       )
                                        )


                                                 COMPLAINT


                       Plaintiff, Jeannie Quinteros, sue Defendants and allege as follows:


            1. This action seeks to recover damages from Defendants for fraudulent and predatory

               practices when Defendants submitted and causing to be submitted false assignment of

               mortgages to the Recorder of Deeds and fraudulently modifying a loan documents
               Defendants CAPITAL VENTURES INTERNATIONAL, LLC, NICHOLAS
               LAMPARIELLO, JOSHUA CHRISTENSEN, NATIONAL HOME INVESTORS, LLC,
               and MADSION MANAGEMENT SERVICES, were not parties to.

            2. Defendants engaged in a pattern of fraudulent conduct, including fraud in the

               inducement, fraud in the concealment in violation of Federal RICO, Florida RICO Act,

               Florida Deceptive and Unfair Trade Practices Act, violation of the Fair Debt Collection

               Act, equitable estoppel, promissory estoppel, unjust enrichment, and intentional
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          misrepresentation that caused Plaintiff emotional distress, and seeks a declaratory
         judgement, injunctive relief and for damages.

      3. Defendants are not now - and have never been - a holder, non-holder, real party in

          interest, predecessor in interest or successor in interest, as outlined in Florida statute,

         when Defendants falsely claimed to be the owner and holder of a "note" secured by a

         mortgage at 1596 Salerno Circle Weston, FL 33327 ("subject property") and induced

         Plaintiff to enter into a loan modification agreement to modify the "note" Plaintiff was
         not a borrower or a party to.

      4. Defendants falsely claimed they were and are the owner(s) of the "note", assignee(s) of
         the mortgage, and direct party to the loan modification agreement with right to enforce

         the "note" and mortgage and accelerate all payments due under the mortgage even though
         Defendants were never a holder, non-holder, real party in interest, predecessor in interest

         or successor in interest, as outlined in Florida statute.

      5. Defendants' misrepresentations and concealment of material facts induced Plaintiff to

         enter into the loan modification agreement, resulting in damages to Plaintiff, including

         financial harm, damage to her financial security, and emotional distress.

      6. Defendants are not licensed lenders pursuant to s. 494.00611 and are not registered as

         lenders under the State of Florida' s Division of Consumer, Office of Finance Regulation

      7. Plaintiff further alleges that Defendants' actions constitute intentional misrepresentation,
         intentional infliction of emotional distress, and unjust enrichment. Defendants knowingly
         and intentionally, recklessly made false representations, causing Plaintiff severe

         emotional distress, and detrimentally affecting her well-being.
      8. Moreover, Plaintiff seeks declaratory judgment to determine the rights and obligations of

         the parties regarding the property and injunctive relief to prevent Defendants from

         continuing it's fraudulent scheme and claiming a lost note and attempting to fraudulently

         take ownership of Plaintiffs property during the pendency of this lawsuit.
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      9. Plaintiff requests a jury trial to seek appropriate damages, including compensatory
         damages, punitive damages, restitution, attorney's fees, and costs.


                                               THE PARTIES


             I.     Plaintiff

                     Plaintiff has interest in the subject property and resides in Washington, D.C.

             II.    Defendants

      10. Defendant CAPITAL VENTURES INTERNATIONAL, LLC, alleged lender has a

         principal office in Delaware and an inactive registration in the State of Florida with

         offices at 4670 W. Commercial Blvd., Tamarac, FL, 33319. Defendant is subject to this

         Court's personal jurisdiction pursuant to § 48.193.


      11. Defendants NICHOLAS LAMPARIELLO, a licensed attorney, Florida Bar No: 107722,

         is the owner of CAPITAL VENTURES INTERNATIONAL, LLC, the alleged lender,

         ring leader, and agent of NATIONAL HOME INVESTORS, LLC, conspired with the

         other Defendants when it altered the Plaintiffs marital settlement agreement, an Order

         from the Court, to show that Plaintiff was the sole owner, and fraudulently induced

         Plaintiff into signing a loan modification agreement, drafted false assignments and

         allonges, filed and served it with Florida Courts and the Broward County Recorder of
         Deeds, reopened Plaintiffs closed divorce case of fourteen (14) years to demand the

         Court enforce her former spouse to quitclaim the deed to his property to the Plaintiff so

         that the Plaintiff is forced to quitclaim the deed to Defendant. Defendant has a principal

         address at 4670 W. Commercial Blvd., Tamarac, FL, 33319 in Broward County, Florida.

         He is subject to personal jurisdiction in pursuant to § 48.193.

      12. Defendants JOSHUA CHRISTENSEN, Esq. , a licensed attorney, Florida Bar No:115701 ,

         conspired with other Defendant when he intentionally and knowingly filed false

         assignment of mortgages, allonges and documents and served it in Florida Courts and the
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         Broward County Recorder of Deeds, reopened Plaintiffs closed divorce case of fourteen
         (14) years to demand the Court enforce Plaintiff former spouse to quitclaim the deed of

         his property to the Plaintiff so that the Plaintiff will be ordered by the Court to quitclaim

         the deed to Defendant. Defendants has a principal address at 4670 W. Commercial Blvd.,

         Tamarac, FL, 33319 in Broward County, Florida. He is subject to personal jurisdiction in

         pursuant to § 48.193 .

      13. Defendants NATIONAL HOME INVESTORS, LLC, alleged lender, a California

         company, engaged in lending activities in the State of Florida and has an agent in the

         State of Florida with a principal address at 4670 W. Commercial Blvd., Tamarac, FL,
         33319 in Broward County, Florida. He is subject to personal jurisdiction in pursuant to §

         48.193.
      14. Defendants MADSION MANAGEMENT SERVICES, LLC alleged servicer, a New

         Jersey based company, conduct and engaged in lending or servicing activities in the State

         of Florida
      15. Plaintiff does not know the true names, capacities, or basis for liability of Defendants

         sued as Does 1 through 25, but believes they are in some way liable to Plaintiff or have
         claims related to the subject property. Plaintiff will amend the Complaint to include their

         true names and capacities when known.
      16. All conditions precedent to this action have been performed, occurred, or waived.
      17. Plaintiff further alleges that all Defendants, including the fictitiously named Defendants,

         are responsible for the injuries and damages alleged in this Complaint. Plaintiff further
         asserts that each Defendant acted as agents, employees, partners or joint-ventures of the
         other Defendants, within the scope of their agency, employment, or joint venture.

                                        JURISDICTION AND VENUE

                   This Court has jurisdiction of Plaintiffs' federal law claims pursuant to 28 U.S.C.

         § 1331 , as this case involves federal questions.

         This Court has supplemental jurisdiction over the related state law claims pursuant to 28
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         U.S .C. § 1367(a) because those claims form part of the same case or controversy under

         Article III of the United States Constitution. Plaintiffs ' state law claims share all common

         operative facts with their federal law claims, and the parties are identical. Resolving

         Plaintiffs' federal and state claims in a single action serves the interests of judicial

         economy, convenience, consistency, and fairness to the parties.

                 Venue is proper in, and Defendants are subject to the personal jurisdiction of this

         Court because Defendants maintain facilities and business operations in Broward County,

         FL and all the events giving rise to this action occurred in Florida. 28 U.S.C. § 1391(b).


                              FACTUAL AND GENERAL ALLEGATIONS


      18. This action pertains to the real property located at 1596 Salerno Circle, Weston, FL

         33327 (referred to as the "Subject Property").

      19. Each Defendant named in this complaint is alleged to have acted in concert with the other

         Defendants, whether as an employee, agent, co-conspirator, or member of a joint venture,

         and is therefore jointly and severally liable for the claims asserted herein.

      20. Each Defendant has made false and fraudulent statements concerning the ownership of

         mortgage documents including but not limited to the assignment of mortgages, allonges,

         notes, loan modification agreements, pleadings filed in court, and settlement agreements
         (collectively referred to as "Mortgage Documents"). Defendant falsely claimed to be the

         holder, non-holder, real party in interest, predecessor in interest, or successor in interest,

         as per Florida statutes, when in reality, they are none of these

     21. Plaintiff alleges that Defendants, CAPITAL VENTURES INTERNATIONAL, LLC, and

         NICHOLAS LAMPARIELLO, JOSHUA CHRISTENSEN, NATIONAL HOME

         INVESTORS, LLC, MADSION MANAGEMENT SERVICES, LLC and DOES 1

         through 25, represented themselves as the owner and holder of the subject property ' s

         "note" and induced Plaintiff to enter into a loan modification agreement, when she was
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          not a borrower or party to the "note". Plaintiff contends that these representations are
          unequivocally false, as Defendants were not and are not the owner(s) and holder(s) of

          Plaintiffs "note" non-holder, real party in interest, predecessor in interest or successor in

          interest, as outlined in Florida statute, and have fraudulently doctored documents and

         created false assignments and claimed-      after Plaintiff demanded evidence of
         ownership-- to have lost the "note" in furtherance of their racketeering and predatory

         real estate schemes.

      22. Defendants are not licensed lenders or registered as lenders in the State of Florida.

      23. Defendants are not now - and have never been - in possession of the "note" to the subject

         property.
      24. On November 13, 2014, Defendant NATIONAL HOME INVESTORS, LLC and

         attorney representative, Defendant NICHOLAS LAMPARIELLO purportedly assigned a

         lost "note" it was not in possession of to Defendant CAPITAL VENTURES

         INTERNATIONAL, LLC and its owner, Defendant NICHOLAS LAMPARIELLO.

      25. On January 15, 2015, Defendants CAPITAL VENTURES INTERNATIONAL, LLC,

         NICHOLAS LAMPARIELLO and MADSION MANAGEMENT SERVICES, LLC
         represented themselves as the owner and holder of the subject property ' s "note" and

         induced Plaintiff to enter into a loan modification agreement, for which Plaintiff paid
         Defendants over $6,000.

      26. Plaintiff asserts that Defendants CAPITAL VENTURES INTERNATIONAL, LLC and
         NICHOLAS LAMPARIELLO acted as a "lender" and created the fraudulent
         modification agreement to further their racketeering schemes.

      27. Plaintiff contends that any applicable statutes of limitations have been tolled due to

         Defendants' ongoing concealment of the alleged wrongdoing. Plaintiff could not have

         discovered the truth until July 2023 , despite exercising reasonable diligence.

      28. Plaintiff asserts that Defendants knew or should have known that disclosing the truth

         would have deterred Plaintiff from entering into the loan modification agreement.
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      29. Plaintiff asserts that Defendants intended to induce Plaintiff through misrepresentations
         and fraudulent disclosures.

      30. Plaintiffs reasonable reliance on Defendants' misrepresentations caused her harm. If the

         true terms of the transaction were disclosed, Plaintiff would have been alerted to potential

         issues and known about Defendants' true intentions and the adverse effects on the value
         of Plaintiffs property.

      31. Defendants failure to disclose the non-ownership of the subject property's "note" led

         Plaintiff to enter into the loan modification.

      32. Plaintiff seeks damages, including punitive damages, for intentional deceit and the

         unlawful encumbrance of Plaintiffs real property by Defendants.

                                       COUNT-I
             (FRAUD IN THE INDUCEMENT AND FRAUD IN THE CONCEALMENT)
                              (AGAINST ALL DEFENDANTS)

      33. Plaintiff re-alleges and incorporate by reference all preceding paragraphs though fully set
          forth herein.
      34. On January 12, 2015, Defendants CAPITAL VENTURES INTERNATIONAL,
         NICHOLAS LAMPARIELLO, NATIONAL HOME INVESTORS, LLC and MADSION

         MANAGEMENT SERVICES, LLC, falsely represented themselves as the holder of

         Plaintiffs subject property "note" and induced Plaintiff to enter into a loan modification

         agreement when Defendants presented a loan modification agreement alleging, she was
         the sole owner of the subject property based on her divorce agreement and that she

         needed to sign the agreement. Plaintiff claimed because they were the owners of "note",
         they can and will take her property if she does not agree to the modification agreement.
         Plaintiff paid Defendants over $6,000 to enter into the agreement.

      35. Plaintiff further alleges that MADISON MANAGEMENT SERVICES, LLC acted as a

         disguised servicer of the fraudulent modification, concealing their true role in furtherance

         of racketeering schemes.
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     36. Defendants CAPITAL VENTURES INTERNATIONAL, LLC NICHOLAS
         LAMPARIELLO, and NATIONAL HOME INVESTORS, LLC and MADISON

         MANAGEMENT SERVICES, LLC, intentionally misrepresented their entitlement to

         accelerate all sums due under the mortgage when Defendants had no legal, equitable, or

         beneficial interest in the property.

     3 7. Defendants falsely claimed to be the "holder and owner" of the "note" and mortgage

        deceiving Plaintiff. Defendants are not now - and have never been - a holder, non-holder,

         real party in interest, predecessor in interest or successor in interest, as outlined in Florida

        statute. This misrepresentation was made with the intention of initiating a fraudulent
        foreclosure process and profiting from the sale of the property.

     38. On April 5, 2016, Defendants, JOSHUA CHRISTENSEN conspired with CAPITAL

        VENTURES INTERNATIONAL, LLC, NICHOLAS LAMPARIELLO, AND
        NATIONAL HOME INVESTORS, LLC to submit or causing to be submitted fraudulent

        assignments of mortgages to the Recorder of Deeds.

     39. On April 28, 2023, Defendants, JOSHUA CHRISTENSEN conspired with CAPITAL

        VENTURES INTERNATIONAL, LLC and NICHOLAS LAMPARIELLO, to reopen

        Plaintiffs divorce case to demand that the court issue and order forcing Plaintiff to

        quitclaim the deed to her subject property to the Defendant.

     40. Defendants were aware of their misrepresentations and profited from them.
     41. Plaintiff suffered damages, including financial hardship, emotional distress, and incurred
        costs and attorney's fees, as a direct result of Defendants' misrepresentations and

        concealment.
     42. Defendants' actions demonstrate malice, fraud, warranting punitive damages to deter

        future misconduct.

     4 3. The false and fraudulent statements of material fact and acts of fraudulent concealment

        include: (i) every assignment of mortgage(s), the allonge, the "note", the loan

        modification agreement, pleading filed in court, and the settlement agreement that the
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          Defendants were owners and holders of the "note" when in fact Defendants are not now -
         and have never been - a holder, non-holder, real party in interest, predecessor in interest

         or successor in interest, as outlined in Florida statute.



                                    COUNT-II
            VIOLATION OF FLORIDA RACKETEER INFLUENCED CORRUPT
                          ORGANIZATION ACT (RICO)
                          (AGAINST ALL DEFENDANTS)


      44. Plaintiff re-alleges and incorporate by reference all preceding paragraphs though fully set

         forth herein.

      45. Defendants, CAPITAL VENTURES INTERNATIONAL, LLC, NICHOLAS

         LAMPARIELLO, NATIONAL HOME INVESTORS, LLC AND MADISON

         MANAGEMENT SERVICES has committed multiple offenses that are indictable under
         Florida law. For example,

      46. On. October 28, 2014, Defendants, NATIONAL HOME INVESTORS, LLC, CAPITAL

         VENTURES INTERNATIONAL, LLC, NICHOLAS LAMPARIELLO, AND

         MADISON MANAGEMENT SERVICES created a false Assignment of Mortgage from

         Castle Peak 2010-1 Loan Trust to Defendant NATIONAL HOME INVESTORS, LLC,

         and backdated the Assignment of Mortgage to June 26, 2013, which allegedly assigned
         the mortgage and purported note. Defendant NICHOLAS LAMPARIELLO, conspired
         with Defendant NATIONAL HOME INVESTORS, LLC to create the false assignment
         of mortgage.
      47. On October 28, 2014, Defendants NATIONAL HOME INVESTORS, LLC, conspired

         with Defendant NICHOLAS LAMPARIELLO and CAPITAL VENTURES

         INTERNATIONAL, LLC and filed a lost note affidavit alleging that it was in possession

         of the purported note when it was lost, even though Defendants were never in possession

         of the purported note.
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      48. On or about October 28, 2014, Defendants NATIONAL HOME INVESTORS, LLC,
         conspired with Defendant NICHOLAS LAMPARIELLO and CAPITAL VENTURES

         INTERNATIONAL, LLC filed and caused to be filed fraudulent assignment of

         mortgages that were backdated to June 26, 2013, with fictious witnesses with Broward

         County Recorder of Deeds.

      49. On November 13, 2014, Defendants NATIONAL HOME INVESTORS, LLC conspired

         with CAPITAL VENTURES INTERNATIONAL, LLC, NICHOLAS LAMPARIELLO
         when it created a second false assignment of mortgage and allegedly assigned the

         mortgage and purported note to CAPITAL VENTURES INTERNATIONAL, LLC.
      50. On November 13, 2014, 2014, Defendants NICHOLAS LAMPARIELLO and CAPITAL

         VENTURES INTERNATIONAL, LLC CAPITAL VENTURES INTERNATIONAL,

         LLC filed and caused to be filed fraudulent assignment of mortgages with fictious
         witnesses with Broward County Recorder of Deeds.

      51. On January 8, 2015, Defendants NICHOLAS LAMPARIELLO and CAPITAL

         VENTURES INTERNATIONAL, LLC presented the Plaintiff with an altered martial

         settlement agreement from her closed divorce case, when Defendants presented Plaintiff

         with a loan modification and settlement agreement Defendants NICHOLAS

         LAMP ARIELLO and CAPITAL VENTURES INTERNATIONAL, LLC falsely

         represented to her that they are the owner and holder of the purported note. Plaintiff
         relied on its representation when she paid NICHOLAS LAMPARIELLO, CAPITAL
         VENTURES INTERNATIONAL, LLC and MADISON MANAGEMENT SERVICES,

         LLC $6,548.
      52. On April 5, 2016, Defendants CAPITAL VENTURES INTERNATIONAL, LLC,

         NICHOLAS LAMPARIELLO, JOSHUA CHRISTENSEN filed fraudulent mortgage

         documents with fictious witnesses alleging it was the owner and holder of a purported

         note.
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      53. On November 30, 2016, Defendants CAPITAL VENTURES INTERNATIONAL, LLC,
          NICHOLAS LAMPARIELLO, JOSHUA CHRISTENSEN filed fraudulent mortgage
          documents with fictious witnesses alleging it was the owner and holder of a purported

          lost note.

      54. On January 7, 2022, Defendants CAPITAL VENTURES INTERNATIONAL, LLC,
          NICHOLAS LAMPARIELLO, JOSHUA CHRISTENSEN filed fraudulent mortgage

          documents with fictious witnesses alleging it was the owner and holder of a purported
          lost note.

      55. On January 7, 2022, Defendants CAPITAL VENTURES INTERNATIONAL, LLC,

          NICHOLAS LAMPARIELLO, JOSHUA CHRISTENSEN filed fraudulent mortgage

          documents with fictious witnesses alleging it was the owner and holder of a purported
          lost note.
      56. On April 28, 2023, Defendants CAPITAL VENTURES INTERNATIONAL, LLC,

         NICHOLAS LAMPARIELLO, JOSHUA CHRISTENSEN filed fraudulent mortgage
          documents with fictious witnesses in Plaintiffs closed divorced case of fourteen (14)

          years that CAPITAL VENTURES INTERNATIONAL, LLC, NICHOLAS

          LAMPARIELLO, JOSHUA CHRISTENSEN reopened to intervene as a party alleging it

          was the owner and holder and successor in interest of a purported lost note and sought for
          the family court to compel Plaintiff to quitclaim the deed the subject property.

      57. Defendant's conduct forms a pattern as per Fla. Stat. § 895.03.
      58. Defendants participated in an enterprise affecting interstate commerce.

      59. Plaintiff has suffered substantial losses as a direct result of this activity.

                                  COUNT-III
            VIOLATION OF FEDERAL RACKETEER INFLUENCED CORRUPT
                          ORGANIZATION ACT (RICO)
                          (AGAINST ALL DEFENDANTS)

      60. Plaintiff re-alleges and incorporate by reference all preceding paragraphs though fully set
          forth herein.
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      61. Defendants CAPITAL VENTURES INTERNATIONAL, LLC, a Delaware company,
         NICHOLAS LAMPARIELLO, NATIONAL HOME INVESTORS, LLC, a California

         Company AND MADISON MANAGEMENT SERVICES, LLC a New Jersey Company
         have committed multiple acts of mail and wire fraud by transmitting fraudulent Mortgage

         Documents across state lines.

      62. On October 28, 2014, when Defendants, NATIONAL HOME INVESTORS, LLC,

         CAPITAL VENTURES INTERNATIONAL, LLC, NICHOLAS LAMPARIELLO, AND
         MADISON MANAGEMENT SERVICES, LLC created a false Assignment of Mortgage

         from Castle Peak 2010-1 Loan Trust to Defendant NATIONAL HOME INVESTORS,

         LLC, and backdated the Assignment of Mortgage to June 26, 2013, which allegedly

         assigned the mortgage and purported note. Defendant NICHOLAS LAMPARIELLO,

         conspired with Defendant NATIONAL HOME INVESTORS, LLC to create the false

         assignment of mortgage.

      63. On October 28, 2014, when Defendants NATIONAL HOME INVESTORS, LLC,

         conspired with Defendant NICHOLAS LAMPARIELLO and CAPITAL VENTURES

         INTERNATIONAL, LLC and filed a lost note affidavit alleging that it was in possession

         of the purported note when it was lost, even though Defendants were never in possession

         of the purported note.

      64. On or about October 28, 2014, when Defendants NATIONAL HOME INVESTORS,
         LLC, conspired with Defendant NICHOLAS LAMP ARIELLO and CAPITAL
         VENTURES INTERNATIONAL, LLC filed and caused to be filed fraudulent

         assignment of mortgages that were backdated to June 26, 2013 , with fictious witnesses
         with Broward County Recorder of Deeds.

      65 . On November 13, 2014, when Defendants NATIONAL HOME INVESTORS, LLC

         conspired with CAPITAL VENTURES INTERNATIONAL, LLC, NICHOLAS

         LAMP ARIELLO when it created a second false assignment of mortgage and allegedly
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         assigned the mortgage and purported note to CAPITAL VENTURES
         INTERNATIONAL, LLC.

      66. On November 13, 2014, 2014, when Defendants NICHOLAS LAMPARIELLO and
         CAPITAL VENTURES INTERNATIONAL, LLC CAPITAL VENTURES

         INTERNATIONAL, LLC filed and caused to be filed fraudulent assignment of
         mortgages with fictious witnesses with Broward County Recorder of Deeds.

      67. On January 8, 2015, Defendants when NICHOLAS LAMPARIELLO and CAPITAL
         VENTURES INTERNATIONAL, LLC presented the Plaintiff with an altered martial

         settlement agreement from her closed divorce case, when Defendants presented Plaintiff
         with a loan modification and settlement agreement Defendants NICHOLAS

         LAMPARIELLO and CAPITAL VENTURES INTERNATIONAL, LLC falsely
         represented to her that they are the owner and holder of the purported note. Plaintiff

         relied on its representation when she paid NICHOLAS LAMP ARIELLO, CAPITAL

         VENTURES INTERNATIONAL, LLC and MADISON MANAGEMENT SERVICES,

         LLC $6,548.

      68. On April 5, 2016, Defendants when CAPITAL VENTURES INTERNATIONAL, LLC,

         NICHOLAS LAMPARIELLO, JOSHUA CHRISTENSEN filed fraudulent mortgage

         documents with fictious witnesses alleging it was the owner and holder of a purported

         note.
      69. On November 30, 2016, Defendants when CAPITAL VENTURES INTERNATIONAL,
         LLC, NICHOLAS LAMPARIELLO, JOSHUA CHRISTENSEN filed fraudulent
         mortgage documents with fictious witnesses alleging it was the owner and holder of a

         purported lost note.

      70. On January 7, 2022, when Defendants CAPITAL VENTURES INTERNATIONAL,

         LLC, NICHOLAS LAMPARIELLO, JOSHUA CHRISTENSEN filed fraudulent

         mortgage documents with fictious witnesses alleging it was the owner and holder of a

         purported lost note.
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      71. On January 7, 2022, when Defendants CAPITAL VENTURES INTERNATIONAL,
         LLC, NICHOLAS LAMPARIELLO, JOSHUA CHRISTENSEN filed fraudulent

         mortgage documents with fictious witnesses alleging it was the owner and holder of a

         purported lost note.

      72. On April 28, 2023 , when Defendants CAPITAL VENTURES INTERNATIONAL, LLC,

         NICHOLAS LAMPARIELLO, JOSHUA CHRISTENSEN filed fraudulent mortgage

         documents with fictious witnesses in Plaintiffs closed divorced case of fourteen (14)

         years that CAPITAL VENTURES INTERNATIONAL, LLC, NICHOLAS

          LAMPARIELLO, JOSHUA CHRISTENSEN reopened to intervene as a party alleging it

         was the owner and holder and successor in interest of a purported lost note and sought for

         the family court to compel Plaintiff to quitclaim the deed to the subject property.
      73. These predicate acts show a pattern of racketeering activity over an extended period.

      74. Defendants acted as part of an enterprise.

      75. As a result, Plaintiff has suffered financial losses and emotional distress.

                                  COUNT-IV
       VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)
                         (AGAINST ALL DEFENDANTS)

      76. Plaintiff re-alleges and incorporate by reference all preceding paragraphs though fully set
          forth herein.
      77. Defendants falsely represented the status of the debt and their authority to collect when it
          filed and fraudulent documents alleging to be owner or holder of a debt.

      78. Defendants has used deceptive means to collect or attempt to collect debts from the
          Plaintiff when it filed and caused to filed fraudulent mortgage documents with the
          Broward County Recorder of Deeds and re-opened the Plaintiffs closed divorced case to

         harass Plaintiff to quitclaim deed her interest to the subject property to the Defendants.

      79. These actions have caused Plaintiff emotional distress and financial harm.




                                                   COUNT-V
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   VIOLATION OF VIOLATION OF THE FLORIDA DECEPTIVE AND UNFAIR TRADE
                         PRACTICES ACT (FDUTPA)
   (AGAINST DEFENDANTS NATIONAL HOME INVESTORS, LLC, CAPITAL VENTURES
        INTERNATIONAL, LLC, AND NICHOLAS LAMPARIELLO AND JOSHUA
                              CHRISTENSEN)

      80. Plaintiff re-alleges and incorporate by reference all preceding paragraphs though fully set
          forth herein.
      81. Defendants engaged in a deceptive act by misrepresenting their legal status in relation to
         the Mortgage Documents. This conduct has a broad impact on consumers at large.

      82. Plaintiff has suffered actual damages, including financial loss and emotional distress.

                                               COUNT-VI

             INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
   (AGAINST DEFENDANTS NATIONAL HOME INVESTORS, LLC, CAPITAL VENTURES
        INTERNATIONAL, LLC, AND NICHOLAS LAMPARIELLO AND JOSHUA
                              CHRISTENSEN)

      83. Plaintiff re-alleges and incorporate by reference all preceding paragraphs though fully set
          forth herein.
      84. Defendants knowingly engaged in fraudulent behavior that is outrageous or extreme for

         example when:
      85. Defendants NATIONAL HOME INVESTORS, LLC, CAPITAL VENTURES

         INTERNATIONAL, LLC, AND NICHOLAS LAMPARIELLO AND JOSHUA
         CHRISTENSEN created fraudulent assignment of mortgages, allonges, loan modification
         agreements fictious witnesses and filed or caused to be filed in the fraudulent mortgage
         document in Broward County Recorder of Deeds even though Defendants have never

         been - a holder, non-holder, real party in interest, predecessor in interest or successor in
         interest, as outlined in Florida statute.

      86. Defendants, CAPITAL VENTURES INTERNATIONAL, LLC, NICHOLAS

         LAMPARIELLO JOSHUA CHRISTENSEN re-opened the Plaintiffs closed divorced

         case to be added as party when it filed and caused to filed fraudulent mortgage

         documents to force Plaintiff to quitclaim her interest to the subject property to the

         Defendants.
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      87. Defendants acted with the intent to cause Plaintiff emotional distress.
      88. Plaintiff has suffered severe emotional distress as a result.



                                COUNT-VII
                           INJUNCTIVE RELIEF
    (AGAINST DEFENDANTS CAPITAL VENTURES INTERNATIONAL, LLC, NICHOLAS
                  LAMPARIELLO AND JOSHUA CHRISTENSEN)



      89. Plaintiff re-alleges and incorporate by reference all preceding paragraphs though fully set

         forth herein.

      90. The Plaintiff is currently and will continue to suffer immediate and irreparable harm

         unless Defendants are enjoined from its present course of conduct, specifically from

         fraudulently misrepresenting its status in relation to Mortgage Documents and attempting

         to unlawfully possess the Plaintiffs home and demanding that Defendants be included as

         a party to her closed divorce case of fourteen (14) years.
      91. Plaintiff asserts that she has no adequate remedy at law. Monetary damages alone cannot

         adequately compensate Plaintiff for the loss of her home, the disruption of her life, and

         the ongoing emotional distress she suffers.

      92. Plaintiff is likely to succeed on the merits of their claims. The elements of fraud,

         misrepresentation, and violations of both federal and Florida state law have been
         sufficiently alleged.

      93. The balance of equities tips in favor of Plaintiff. The Defendant will not be significantly
         harmed by being enjoined from further fraudulent activity. On the other hand, Plaintiff

         faces the loss of her home, continued harassment by Defendants reopening Plaintiff

         closed divorce case to be included as a party and continued emotional distress.

      94. Granting injunctive relief would serve the public interest. Halting the Defendant' s

         fraudulent activities will protect not only Plaintiff but also potentially other consumers

         who may be targeted in the same or similar schemes.
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      95. Plaintiff specifically seeks:
      96. To halt the Defendant's current and future fraudulent activities, specifically any actions

          attempting to force a court to add Plaintiff as a party to a closed divorce case, forcing

          Plaintiff into quitclaiming the deed or taking possession of her home.

      97. To compel the Defendants to adhere to all relevant state and federal laws concerning debt
          collection and mortgage lending.

      98. To prohibit the Defendants from reopening closed family or civil cases for the purpose of

          obtaining judgments or orders that benefit them at the Plaintiffs expense.

                                     COUNT-VIII
                              DECLARATORY JUDGMENT
              (AGAINST DEFENDANTS CAPITAL VENTURES INTERNATIONAL, LLC,
                    NICHOLAS LAMP ARIELLO AND JOSHUA CHRISTENSEN)


      99. Plaintiff re-alleges and incorporate by reference all preceding paragraphs though fully set

          forth herein
      100.        There is an actual controversy regarding the legal status and rights concerning the

          Mortgage Documents.
       101.       Plaintiff seeks a declaration of the parties' respective rights and responsibilities to

          resolve uncertainty and prevent future disputes.


                                          DEMAND FOR JURY TRIAL


       102.       Plaintiff demands a trial by jury on all issues so triable.

      WHEREFORE, Plaintiff prays for judgment against Defendant for compensatory damages,

   punitive damages, injunctive relief, declaratory judgment, costs of suit, and such other and

   further relief as the Court may deem just and proper.

   DATED: September 8, 2023

   Respectfully submitted:

                                                         Jeannie Quinteros, prose
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                                CERTIFICATE OF SERVICE

            THE UNDERSIGNED HEREBY CERTIFIES that a true and correct copy of the
   foregoing has been forwarded, via mail , to Joshua Christensen, Esq. , Lampariello Law
   Group, co-counsel for Plaintiff, 4670 W. Commercial Blvd., Tamarac, FL, 33319, on
   this 8th day of September 2023 .


                                           By:
                                                 Jeannie Quinteros, prose
                                                  717 D St NW Ste 300
                                                  Washington, DC 20004
